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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION


UNITED STATES OF AMERICA,               )
                                        )
            vs.                         )   CAUSE NO. 2:02-CR-34 (2) RM
                                        )
SUWANNEE SPRIPRASARN                    )


                                    ORDER
      No objections have been filed to Magistrate Judge Nuechterlein’s findings

and recommendations upon a plea of guilty issued on August 22, 2007 [Doc. No.

39]. Accordingly, the court now ADOPTS those findings and recommendations,

ACCEPTS     defendant Suwannee Spriprasarn’s plea of guilty, and FINDS the

defendant guilty of Count 1 of the Indictment, in violation of 21 U.S.C. § 963.

      SO ORDERED.

      ENTERED:      October 31, 2007




                                            /s/ Robert L. Miller, Jr.
                                     Chief Judge
                                     United States District Court
